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IN THE UNITED STATES DISTRICT COUR]`

  

FGR THE NORTHERN DISTRICT OF TEXA S
FORT WORTH DIVISION l
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UNITED STATES ()F AMERICA By

V.

 

Deputy
o. 4: l}-CR-187-Y

DAVID ALLEN DEVANEY, JR (Ol)

l. Plea:

FACTUAL RESUME

The defendant is pleading guilty to Count One of the Superseding lnformation,
Which charges Conspiracy to Distribute a Controlled Substance, in violation of 18 U.S.C.

§ 371.
II. Pe_nalties:

The penalties the Court can impose include:

a. imprisonment for a period not to exceed five (5) years;

b. a fine not to exceed one $250,000, or both such fine and imprisonment;

c. a term of supervised release of not more than three (3) years, Which may be
mandatory under the law and will follow any term of imprisonment lf the
defendant violates any condition of the term of supervised release, the
Court may revoke such release term and require that the defendant serve an
additional period of confinement;

d. a mandatory special assessment of $l()();

e. restitution to victims or to the community, Which may be mandatory under
the laW, and Which Defendant agrees may include restitution arising from
all relevant conduct, not limited to that arising from the offense of
conviction alone; and

f. forfeiture of property; and

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g. costs of incarceration and supervision.

Ill. Elements of the Offense:

 

In order to establish the offense alleged in Court One of the Superseding
Information, the government must prove the following elements beyond a reasonable
doubt:

First: That two or more persons, directly or indirectly, reached an
agreement to distribute a controlled substance, as charged in the
Superseding Information;

Second: That the defendant knew the unlawful purpose of the agreement; and

Third: That the defendant joined in the agreement willfully, that is, with the
intent to further its unlawful purpose.

IV. Stip_ulated Facts:

Beginning in or around February 2017, the exact date being unknown, and
continuing thereafter until in or around July 2018, in the Northern District of Texas, and
elsewhere, defendant David Allen Devaney, Jr., and others, did knowingly and
intentionally combine, conspire, confederate,`and agree to commit the following offense
against the United States, to wit: distribution of GHB, a Schedule l Controlled Substance,
and methamphetamine, a Schedule II Controlled Substance.

Devaney admits that in or around February 2017, within the Northern District of
Texas, and elsewhere, he knowingly and willfully combined, conspired, confederated,
and agreed with another to distribute and/or possess with the intent to distribute a
controlled substance. Speciflcally, on or about February 6, 2017, Fort Worth Police
officers conducted a traffic stop on a car Devaney was driving in Fort Worth, Texas.
During the course of the traffic stop, Devaney was found to be in possession of
approximately 49.5 pounds of GHB.

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Devaney also admits that he was arrested in July 26-1-7, in Dallas County, Texas.
During this arrest, he was in possession of methamphetamine with the intent to distribute
it. Devaney’s possession of this methamphetamine was done with the intent to further the
unlawful purpose of a drug conspiracy that he was willfully participating in.

AGREED AND STIPULATED on this $`£ day of 3 M¢/, 2018.

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DAVID ALLEN DEVANEY, JR BRIAN POE
Defendant Counsel for Defendant

 

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